4:01-cr-03106-JMG-DLP       Doc # 416     Filed: 03/29/06    Page 1 of 1 - Page ID # 3843




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                            Plaintiff,           )
                                                 )
v.                                               )     Case No. 4:01CR3106
                                                 )
MARY NEGETHON,                                   )
                                                 )
                            Defendant.           )

                                         ORDER

       THIS MATTER comes before the Court on defendant's motion to continue the April

4, 2006, revocation hearing in this case until a date and time certain in approximately 60

to 90 days. Filing 415. The Court, being fully advised in the premises, and noting that the

Government and the Probation Office have no objection, finds that said motion should be

granted.

       IT IS THEREFORE ORDERED that the revocation hearing scheduled in this case

shall be continued until Wednesday, June 28, 2006, at 1:00 p.m. before the undersigned

United States district judge. The defendant is ordered to appear at such time.

       March 29, 2006.                           BY THE COURT:

                                                 s/ Richard G. Kopf
                                                 United States District Judge
